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                      UNITED STATES BANKRUPTCY COURT
                    FOR THE WESTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION

In re:                                                      Docket No 11-00443-jrh
Paul A. Dills and Lois D. Dills                             Chapter 7
                                                            Hon. Jeffrey R. Hughes
      Debtors.                                              Date Filed: January 19, 2011
______________________________________/

 STIPULATION TO ARBITRATE CLAIM AND PROOF OF CLAIM FILED BY
 CHAD AND CATHERINE FRAZIER AND DEBTORS’ OBJECTION TO SAME
              AND RELATED MATTERS AND ORDER

       NOW COME Paul and Lois Dills (individually and as Trustee of the Paul A. Dills

Living Trust and the Lois D. Dills Living Trust) and Chad and Catherine Frazier (the

“Parties”), and Kelly Hagan, Chapter 7 Trustee (“Trustee”), by and through their attorneys,

and hereby stipulate as follows:

       1.     Paul and Lois Dills (“Dills”) filed a Chapter 7 bankruptcy on January 20, 2011, Case

              No. 11-00443-jrh, which is currently pending in the Western District Bankruptcy

              Court.

       2.     Kelly Hagan was appointed as Chapter 7 Trustee of the Dills’ bankruptcy.

       3.     In the Dills’ bankruptcy proceeding Chad and Catherine Frazier (“Fraziers”) filed a

              proof of claim dated 5/10/2011, asserting a claim against the Dills’ bankruptcy estate

              in the amount of $183,681.47 (“Proof of Claim”).

       4.     The Dills filed an objection to Frazier’s proof of claim on 6/10/2011. A hearing was

              held concerning the Dills’ objection on 8/4/2011 (“Bankruptcy Objection”). At that

              hearing the parties discussed a potential oral agreement, which has been reached and

              now is reflected in this stipulation.
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5.    Prior to the commencement of the bankruptcy proceeding, the Fraziers filed a

      complaint in the 56th Judicial Circuit Court for Eaton County, Case No. 10-140-CK

      (“Eaton County Lawsuit”). The defendants in the Eaton County Lawsuit were Paul

      and Lois Dills (individually and as Trustees of the Paul A. Dills Living Trust and

      Lois D. Dills Living Trust). The Eaton County Lawsuit is currently pending but is

      stayed by the bankruptcy.

6.    The parties hereby stipulate as follows:

      A.     The Dills and the Fraziers agree that all issues raised in the Eaton County

             Lawsuit, (b) the Proof of Claim and (c) the Bankruptcy Objection and/or any

             issue and matters related to those matters (collectively, “Arbitration Issues”)

             will be submitted to and resolved through binding arbitration (“Arbitration”).

      B.     The Parties agree that John Fifarek of Lasky, Fifarek & Hogan PC, 120 N.

             Washington Square, Ste. 625, Lansing, MI 48933, will serve as the binding

             arbitrator (“Arbitrator”) to resolve all Arbitration Issues.

      C.     The Parties agree that the Arbitrator will have the same authority as an Eaton

             County Circuit Court judge and/or as of a Bankruptcy Court judge in issuing

             decisions regarding this Arbitration and the Arbitration Issues.

      D.     The Arbitrator will make such interim rulings as may be necessary, and upon

             completion of the final hearing, the Arbitrator will issue an Arbitration award

             (“Award”) in writing and deliver a copy of the Award to the attorney for each

             Party. The Award shall be binding upon the Parties, subject only to the

             applicable rules and laws in the State of Michigan (MCR 3.602 and MCL

             600.5001-.5035) and/or the bankruptcy laws regarding arbitration.
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 E.    The Parties agree that the Award may be submitted to the Bankruptcy Court

       and/or to the Eaton County Circuit Court for issuance of orders consistent

       with the Award.

 F.    Discovery will conclude December 4, 2011 unless extended by the

       Arbitrator.

 G.    The Parties and the Trustee agree that the stay of proceedings issued in this

       bankruptcy proceeding will be lifted for the purpose of allowing the

       Arbitration to proceed.

 H.    The Bankruptcy Trustee, Kelly Hagan, acknowledges that the purpose of the

       arbitration process between the Parties is to adjudicate the Dills’ objection to

       the Frazier’s proof of claim and that the arbitration will result in a claim to be

       paid by the estate; funds received by the Trustee in conjunction with the sale

       of assets of the Dill’s bankruptcy estate will be held by the Trustee until

       resolution of the claims process, including the arbitration, and will be

       distributed in accordance with applicable bankruptcy law.

 I.    Upon conclusion of the Arbitration, the Award shall be filed in the

       bankruptcy court and shall constitute a final determination as to the allowed

       amount of the Fraziers claim, which claim shall be paid by the Trustee in due

       course in the same manner and extent as other unsecured claims against the

       estate.

 J.    The Arbitrator’s fees will be billed at the rate of $230 per hour. The Fraziers

       and the Dills will each pay the Arbitrator a retainer of $1,000. Any

       additional sums, fees or costs due to the Arbitrator or the parties, will be
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                    apportioned between the Fraziers and the Dills as determined by the

                    Arbitrator in accordance with applicable court rules and law (state and

                    federal).



Dated: 10/05/2011                               /s/ Robert E. McCarthy
                                                Robert E. McCarthy (P28450)
                                                Attorney for Paul and Lois Dills

Dated: 10/05/2011                               /s/ William D Tomblin
                                                William D. Tomblin (P40540)
                                                Attorney for Chad and Catherine Frazier

Dated: 10/05/2011                               /s/ Norman C. Witte
                                                Norman C. Witte (P40546)
                                                Attorney on behalf of Kelly Hagan, Chapter 7
                                                Trustee


                                        ORDER


IT IS SO ORDERED.



                                                Jeffrey R. Hughes,
                                                United States Bankruptcy Court Judge

Date:
